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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
              v.                           )        Criminal Action No. 15-23-RGA
                                           )
DAVID GIBSON, et al.                       )
                  Defendants.              )

                   UNOPPOSED MOTION TO EXTEND RESPONSE TIME

      The United States of America, by and through its attorneys, David C. Weiss, United States

Attorney for the District of Delaware, and Robert F. Kravetz, Lesley F. Wolf, and Jamie M. McCall

Assistant United States Attorneys for the District of Delaware, respectfully moves this Court to

extend the filing deadline for its responsive sentencing memoranda from December 7, 2018 until

December 10, 2018. In support of its motion, the government states as follows:

      1. On October 11, 2018, the Court entered orders scheduling the sentencings in the above

         matter and setting forth the deadlines for filing sentencing memoranda. (D.I.s 844-847.)

      2. Defendants filed their respective memoranda on November 20, 2018.

      3. While the Order set the government response date for Friday, December 7, 2018, given

         the volume of materials submitted by Defendants and the number of issues to be addressed,

         the United States respectfully requests that its deadline be extended until Monday,

         December 10, 2018.



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     4. The government has conferred with counsel for each of the Defendants, none of whom

         opposes this request.




     WHEREFORE, the United States respectfully requests that the Court extend the filing

deadline for the government’s sentencing memoranda to December 10, 2018.




                                                    Respectfully submitted,

                                                    DAVID C. WEISS
                                                    United States Attorney


                                         BY:          /s/
                                                    Robert F. Kravetz
                                                    Lesley F. Wolf
                                                    Jamie M. McCall
                                                    Assistant United States Attorneys


Dated: December 5, 2018




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